                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


WILLIAM FEEHAN,

               Plaintiff,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
 L. THOMSEN, MARGE BOSTELMANN,                                               Case No.: 20CV1771
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.


 DEFENDANT GOVERNOR EVERS’S MOTION REQUESTING LEAVE TO FILE AN
                  OVERSIZED MEMORANDUM

       Earlier this afternoon, the Court issued an order granting in part Plaintiff’s “Amended

Motion for Temporary Restraining Order and Preliminary Injunction To Be Considered in an

Expedited Manner.” The Court’s order establishes a briefing schedule on the merits of Plaintiff’s

request for injunctive relief, and it specifically reminds the parties of Civil Local Rule 7(f), which
sets a default page limit of 30 pages for briefs supporting or opposing most motions: “No

memorandum exceeding the page limitations may be filed unless the Court has previously granted

leave to file an oversized memorandum.” (emphasis added).

       Defendant Governor Evers intends both to oppose Plaintiff’s motion and to argue in

support of a motion to dismiss Plaintiff’s complaint. Governor Evers plans to address both motions

in one brief. That approach will be more efficient for all parties and the Court. To facilitate this

approach and to increase efficiency, Governor Evers respectfully requests, pursuant to Civil Local

Rule 7(f), that the Court grant leave to file an oversized consolidated memorandum, not to exceed

forty-five pages. Counsel will endeavor not to use the full amount of space unnecessarily.



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Respectfully submitted this 4th day of December 2020.

                                   /s/ Jeffrey A. Mandell
                                   Jeffrey A. Mandell
                                   Rachel E. Snyder
                                   Richard A. Manthe
                                   STAFFORD ROSENBAUM LLP
                                   222 W. Washington Ave., Suite 900
                                   Madison, WI 53701-1784
                                   Telephone: 608-256-0226
                                   Email: jmandell@staffordlaw.com
                                   Email: rnsyder@staffordlaw.com
                                   Email: rmanthe@staffordlaw.com

                                   Justin A. Nelson
                                   Stephen Shackelford Jr.
                                   Davida Brook
                                   SUSMAN GODFREY L.L.P.
                                   1000 Louisiana Street
                                   Suite 5100
                                   Houston, TX 77002
                                   (713) 651-9366
                                   jnelson@susmangodfrey.com
                                   sshackelford@susmangodfrey.com
                                   dbrook@susmangodfrey.com

                                   Paul Smith
                                   CAMPAIGN LEGAL CENTER
                                   1101 14th Street NW
                                   Suite 400
                                   Washington, DC 20005
                                   (202) 736-2200
                                   psmith@campaignlegalcenter.org

                                   Attorneys for Defendant, Governor Tony Evers




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